Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 1 of 117 PageID #: 960




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 VOICEAGE EVS LLC,                     )
                                       )
                   Plaintiff,          )
                                       )
          v.                           )          C.A. No. 19-1945 (CFC)
                                       )
 HMD GLOBAL OY,                        )
                                       )
                   Defendant.          )
 ____________________________________ )
                                       )
 VOICEAGE EVS LLC,                     )
                                       )
                   Plaintiff,          )
                                       )
          v.                           )          C.A. No. 20-810 (CFC)
                                       )
 LENOVO HOLDING COMPANY, INC.,         )
 LENOVO (UNITED STATES) INC.,          )
 MOTOROLA MOBILITY HOLDINGS,           )
 LLC and MOTOROLA MOBILITY LLC,        )
                                       )
                   Defendants.         )
                                       )
                                       )
 VOICEAGE EVS LLC,                     )
                                       )
                   Plaintiff,          )
                                       )
          v.                           )          C.A. No. 20-1061 (CFC)
                                       )
 APPLE INC.,                           )
                                       )
                   Defendant.          )
 _____________________________________ )


                                NOTICE OF SUBPOENAS
              Pursuant to Fed. R. Civ. P. Rule 45, the Court’s Order of January 22, 2021 in

VoiceAge EVS LLC v. HMD Global Oy, C.A. No. 19-1945-CFC, and the so-ordered stipulation

(C.A. No. 19-1945 D.I. 25, C.A. No. 20-810 D.I. 14, C.A. No. 20-1061 D.I. 24) among VoiceAge
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EVS LLC (“Plaintiff”) and defendants to the captioned actions HMD Global Oy; Lenovo Holding

Company, Inc.; Lenovo (United States) Inc.; Motorola Mobility Holdings, LLC; Motorola

Mobility LLC; and Apple, Inc. (each a “Defendant” and, collectively, “Defendants”), Defendants

hereby give notice of their intent to serve on April 16, 2021 the attached subpoenas for production

of documents on Saint Lawrence Communications, LLC; EVS Codec Technologies, LLC; and

Acacia Research Corporation.


SHAW KELLER LLP                                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Nathan R. Hoeschen                              /s/ Rodger D. Smith II
John W. Shaw (#3362)                                Jack B. Blumenfeld (#1014)
Nathan R. Hoeschen (#6232)                          Rodger D. Smith II (#3778)
I.M. Pei Building                                   1201 North Market Street
1105 North Market Street, 12th Floor                P.O. Box 1347
Wilmington, DE 19801                                Wilmington, DE 19899
(302) 298-0700                                      (302) 658-9200
jshaw@shawkeller.com                                jblumenfeld@morrisnichols.com
nhoeschen@shawkeller.com                            rsmith@morrisnichols.com

Attorneys for Defendant HMD Global Oy               Attorneys for Defendants Lenovo Holding
                                                    Company, Inc., Lenovo (United States) Inc.,
                                                    Motorola Mobility Holdings, LLC and Motorola
                                                    Mobility LLC

POTTER ANDERSON & CORROON LLP

/s/ Bindu A. Palapura
David E. Moore (#3983)
Bindu A. Palapura (#5370)
Stephanie E. O’Byrne (#4446)
Hercules Plaza, 6th Floor
1313 N. Market Street
Wilmington, DE 19801
(302) 984-6000
dmoore@potteranderson.com
bpalapura@potteranderson.com
sobyrne@potteranderson.com

Attorneys for Defendant Apple Inc.
                                                                                       April 16, 2021

                                                2
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                          EXHIBIT 1
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 4 of 117 PageID #: 963
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-01061-CFC
                           APPLE INC.                                         )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       SAINT LAWRENCE COMMUNICATIONS LLC
                      c/o Registered Agent Solutions, Inc. 1701 Directors Boulevard, Suite 300, Austin, TX 78744
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Court Reporting Service Center                                                 Date and Time:
           515 Congress Avenue, Suite 1700                                                                   04/30/2021 4:00 pm
           Austin, TX 78701

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Mark Selwyn
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Apple Inc.                                                               , who issues or requests this subpoena, are:
Mark Selwyn; 2600 El Camino Real, Suite 400, Palo Alto, CA 94306; mark.selywn@wilmerhale.com; 650.858.6031

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 5 of 117 PageID #: 964
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-01061-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 6 of 117 PageID #: 965
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 7 of 117 PageID #: 966
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:19-cv-01945-CFC
                       HMD GLOBAL OY                                          )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       SAINT LAWRENCE COMMUNICATIONS LLC
                      c/o Registered Agent Solutions, Inc. 1701 Directors Boulevard, Suite 300, Austin, TX 78744
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Court Reporting Service Center                                                 Date and Time:
           515 Congress Avenue, Suite 1700                                                                   04/30/2021 4:00 pm
           Austin, TX 78701

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Matthew Moffa
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
HMD Global Oy                                                           , who issues or requests this subpoena, are:
Matthew Moffa, 1155 Ave. of the Americas, 22nd Floor, NY, NY 10036; MMoffa@perkinscoie.com; (212) 262-6900

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 8 of 117 PageID #: 967
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:19-cv-01945-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 9 of 117 PageID #: 968
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 10 of 117 PageID #: 969
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-00810-CFC
               LENOVO GROUP LTD., et al.                                      )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       SAINT LAWRENCE COMMUNICATIONS LLC
                      c/o Registered Agent Solutions, Inc. 1701 Directors Boulevard, Suite 300, Austin, TX 78744
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Court Reporting Service Center                                                 Date and Time:
           515 Congress Avenue, Suite 1700                                                                   04/30/2021 4:00 pm
           Austin, TX 78701

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Kevin A. Zeck
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Lenovo Holding Co.
Lenovo (U.S.) Inc.; Motorola Mob. Holdings, LLC; Motorola Mob. LLC       , who issues or requests this subpoena, are:
Kevin Zeck; 1201 Third Avenue, Ste. 4900, Seattle, WA, 98101; KZeck@perkinscoie.com; (206) 359-3002

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 11 of 117 PageID #: 970
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-00810-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 12 of 117 PageID #: 971
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         EXHIBIT A


                                        DEFINITIONS
   1. “You” and “Your” shall mean “Saint Lawrence Communications, LLC”

   2. “Asserted Patent(s)” shall mean, individually and collectively, U.S. Patent No. 7,693,710;
      U.S. Patent No. 8,401,843; U.S. Patent No. 8,825,475; U.S. Patent No. 8,990,073; and
      U.S. Patent No. 9,852,741.

   3. “Named Inventors” shall mean all inventors named on the face of an Asserted Patent,
      including but not limited to Milan Jelinek; Philippe Gournay; Vaclav Eksler; Redwan
      Salami; Vladimir Malenovsky; and Tommy Vaillancourt.

   4. “EVS Standard” shall mean, for purposes of this discovery only, the technical
      specifications within the Enhanced Voice Service Standard technical specifications of
      3GPP as issued by organizational partners of the 3GPP, including, without limitation, all
      versions and extensions of the foregoing.

   5. “Document(s)” shall be construed under the broadest possible construction under the
      Federal Rules of Civil Procedure, and shall include without limitation any written,
      recorded, graphic, or other matter, whether sent or received or made or used internally,
      however produced or reproduced and whatever the medium on which it was produced or
      reproduced (whether on paper, cards, charts, file, or printouts; tapes, discs, belts,
      videotapes, audiotapes, tape recordings, cassettes, or other types of voice recordings or
      transcriptions; computer tapes, databases, e-mails; pictures, photographs, slides, films,
      microfilms, motion pictures; or any other medium), and any other tangible item or thing
      of readable, recorded, or visual material of whatever nature including without limitation
      originals, drafts, and all non-identical copies of each document (which, by reason of any
      variation, such as the presence of absence of hand-written notes or underlining, represents
      a distinct version).

   6. “License” shall mean

          a. with respect to a patent, any authorization or grant of any right to practice that
             patent with or without limitation, and shall include covenants not to sue,
             sublicenses, time-limited licenses, geographic-limited licenses, field-of-use
             limited licenses, have-made licenses, royalty-bearing licenses, and royalty-free
             licenses.

          b. with respect to a standard, any authorization or grant of any right to practice that
             standard, or any portion of that standard, with or without limitation, and shall
             include covenants not to sue, sublicenses, time-limited licenses, geographic-
             limited licenses, field-of-use limited licenses, have-made licenses, royalty-bearing
             licenses, and royalty-free licenses.
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   7. “Agreement” shall mean any understanding between two or more Persons, whether
      formal or informal, expired or active, written or oral, and/or contingent or non-
      contingent, and regardless of whether the understanding is presently enforceable.

   8. “Person” shall mean any natural person or any business, proprietorship, firm, partnership,
      corporation, association, organization, or other legal entity.

   9. “Affiliate” shall mean, with reference to a specified Person, any entity that directly, or
      indirectly through one or more intermediaries, controls, is controlled by, or is under
      common control with, such Person.

   10. “Fortress Entities” shall mean Fortress Investment Group LLC; Fortress Credit Advisors;
       SoftBank Group Corp.; all Affiliates of any of the foregoing; and all funds or accounts
       managed by any of the foregoing.

   11. “Identified Party” shall mean Voiceage Corporation; EVS Codec Technologies, LLC;
       Acacia Research Corporation; the University of Sherbrooke a/k/a Université de
       Sherbrooke; and the Named Inventors.

   12. “Relate to,” “Related to,” or “Relating to” shall mean in whole or in part affecting,
       concerning, constituting, containing, embodying, reflecting, involving, describing,
       analyzing, identifying, mentioning, stating, retelling directly or indirectly to, dealing
       with, or in any way pertaining to that subject.



                                        INSTRUCTIONS

   1. Document should be produced in a manner organized and labeled to correspond to the
      categories in the demand below in accordance with Federal Rule of Civil Procedure
      45(e)(1)(A).

   2. If You withhold a Document because You claim the Document requested is privileged,
      then in accordance with Federal Rule of Civil Procedure 45(e)(2) at the time of
      production state the following as to each such document: (a) the date the Document was
      created or communicated; (b) the author(s) or speaker(s); (c) all recipients; (d) the
      employer and position for each author, speaker, or recipient, including whether that
      person is an attorney or patent agent; (e) the general subject matter of the information;
      and (f) the type of privilege or protection claimed.

   3. If You object to providing some, but not all, of the Documents and things requested by
      any Request, state the objection, describe the Documents and things that You are
      unwilling to provide because of its objection, and provide the Documents and things that
      are not subject to the objection.

   4. The singular form of a word should be interpreted in the plural as well. The words “and”
      “or,” and “and/or” shall be construed conjunctively or disjunctively, whichever makes the
      request most inclusive. The word “including” and every variant thereof shall be


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        construed to mean “including, without limitation.” The terms “each” and “every” shall
        mean “each and every.” The terms “any” and “all” shall mean “any and all.”

     5. The following Requests are not intended to be exclusive of each other, and a Document
        responsive to multiple requests need only be produced once.

     6. Documents produced in response to this subpoena may be designated under the common
        protective order entered in VoiceAge EVS LLC v. HMD Global Oy, C.A. No. 19-1945-
        CFC (D. Del.); VoiceAge EVS LLC v. Lenovo Holding Company, Inc. et al., No. 20-810-
        CFC (D. Del.); and VoiceAge EVS LLC v. Apple Inc., C.A. No. 20-1061-CFC (D. Del.)
        provided herewith. Any document produced in response to this subpoena need only be
        produced once and may be used in any or all of the three forgoing cases in accordance
        with the so-ordered stipulation therein (C.A. No. 19-1945 D.I. 25, C.A. No. 20-810 D.I.
        14, C.A. No. 20-1061 D.I. 24).



                             DOCUMENTS TO BE PRODUCED
1.      All Documents that relate to ownership, enforcement or licensing of an Asserted Patent.

2.      All Documents that reflect any Agreement relating to ownership, enforcement or
licensing of an Asserted Patent.

3.      All Documents that reflect an obligation or entitlement held by You or any Person at any
time to grant a License to an Asserted Patent or any right under an Asserted Patent, regardless of
the existence of any conditions precedent for that obligation or entitlement to vest.

4.     Documents sufficient to identify each Person obligated or entitled at any time to grant a
License to an Asserted Patent or any right under an Asserted Patent, regardless of the existence
of any conditions precedent for that obligation or entitlement to vest.

5.      All Documents that reflect an obligation or entitlement held by You or any Person at any
time to forgive infringement of an Asserted Patent, regardless of the existence of any conditions
precedent for that obligation or entitlement to vest.

6.      Documents sufficient to identify each Person obligated or entitled at any time to forgive
infringement of an Asserted Patent, regardless of the existence ofany conditions precedent for
that obligation or entitlement to vest.

7.     All Documents that reflect an obligation held by You or any Person at any time to refrain
from granting any right under any Asserted Patent to any Person, regardless of the existence of
any conditions precedent for that obligation to vest.

8.     Documents sufficient to identify each Person obligated at any time to refrain from
granting any right under any Asserted Patent to any Person, regardless of the existence of any
conditions precedent for that obligation to vest.



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9.     All Documents that reflect an obligation held by You or any Person at any time to refrain
from enforcing any Asserted Patent against any Person, regardless of the existence of any
conditions precedent for that obligation to vest.

10.    Documents sufficient to identify each Person obligated at any time to refrain from
enforcing any Asserted Patent against any Person, regardless of the existence of any conditions
precedent for that obligation to vest.

11.    A copy of each License to any Asserted Patent in Your possession, custody, or control.

12.     For each Asserted Patent, Documents sufficient to Identify all Licenses to that Asserted
Patent of which You are aware.

13.    For each Asserted Patent, Documents sufficient to Identify all Persons licensed to that
Asserted Patent of which You are aware.

14.      A copy of each Document purporting to grant any right under an Asserted Patent, or to
entitle the grant of any right under any Asserted Patent, regardless of the existence of any
conditions precedent for such right to vest.

15.    A copy of each Document reflecting any contractual or de facto right to instruct any
Person to not sue for infringement of any Asserted Patent, regardless of the existence of any
conditions precedent for such right to vest.

16.    A copy of each Document reflecting any contractual or de facto right to instruct any
Person to grant a License to any Asserted Patent, regardless of the existence of any conditions
precedent for such right to vest.

17.    A copy of each License to practice the EVS Standard under any patent.

18.     A copy of each Document purporting to grant any right to practice the EVS Standard
under any patent, regardless of whether any conditions precedent have occurred for the grant of
such right.

19.     Documents sufficient to Identify all Licenses to practice the EVS Standard under any
patent, in whole or in part, of which You are aware.

20.    All Documents relating to any event of default that affects any obligation or entitlement
by Your or any Person at any time to grant a License to an Asserted Patent or any right under an
Asserted Patent.

21.    All Documents requesting or instructing any Person to not sue for infringement of any
Asserted Patent.

22.    All Documents requesting or instructing any Person to issue a side letter indicating that
such Person or any Affiliate thereto will not sue for infringement of any Asserted Patent.




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DelGiudice, Martha (NYC)

From:                              ded_nefreply@ded.uscourts.gov
Sent:                              Friday, March 19, 2021 11:36 AM
To:                                ded_ecf@ded.uscourts.gov
Subject:                           Activity in Case 1:19-cv-01945-CFC VoiceAge EVS LLC v. HMD Global Oy SO ORDERED


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                                   District of Delaware

Notice of Electronic Filing

The following transaction was entered on 3/19/2021 at 11:35 AM EDT and filed on 3/19/2021
Case Name:          VoiceAge EVS LLC v. HMD Global Oy
Case Number:        1:19-cv-01945-CFC
Filer:
Document Number: No document attached

Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)

Case Name:       VoiceAge EVS LLC v. Lenovo Holding Company, Inc. et al
Case Number:     1:20-cv-00810-CFC
Filer:
Document Number: No document attached

Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)

Case Name:       VoiceAge EVS LLC v. Apple Inc.
Case Number:     1:20-cv-01061-CFC
Filer:
Document Number: No document attached
                                                             1
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 39 of 117 PageID #: 998
Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)


1:19-cv-01945-CFC Notice has been electronically mailed to:

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1:20-cv-00810-CFC Notice has been electronically mailed to:

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                                                          2
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1:20-cv-01061-CFC Filer will deliver document by other means to:




                                                          3
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                           EXHIBIT 2
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-01061-CFC
                           APPLE INC.                                         )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                            EVS CODEC TECHNOLOGIES, LLC
                         c/o Registered Agent David Sewell, 2323 S. Shepherd, 14th Floor, Houston, TX 77019
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Court Reporting Service Center                                                 Date and Time:
           4296 San Felipe Street, Suite 125                                                                 04/30/2021 4:00 pm
           Houston, TX 77027

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Mark Selwyn
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Apple Inc.                                                               , who issues or requests this subpoena, are:
Mark Selwyn; 2600 El Camino Real, Suite 400, Palo Alto, CA 94306; mark.selywn@wilmerhale.com; 650.858.6031

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 43 of 117 PageID #: 1002
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-01061-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 44 of 117 PageID #: 1003
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 45 of 117 PageID #: 1004
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:19-cv-01945-CFC
                       HMD GLOBAL OY                                          )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                            EVS CODEC TECHNOLOGIES, LLC
                         c/o Registered Agent David Sewell, 2323 S. Shepherd, 14th Floor, Houston, TX 77019
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Court Reporting Service Center                                                 Date and Time:
           4296 San Felipe Street, Suite 125                                                                 04/30/2021 4:00 pm
           Houston, TX 77027

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                       /s/ Matt Moffa
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
HMD Global Oy                                                           , who issues or requests this subpoena, are:
Matthew Moffa, 1155 Ave. of the Americas, 22nd Floor, NY, NY 10036; MMoffa@perkinscoie.com; (212) 262-6900

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 46 of 117 PageID #: 1005
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:19-cv-01945-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 47 of 117 PageID #: 1006
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 48 of 117 PageID #: 1007
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-00810-CFC
               LENOVO GROUP LTD., et al.                                      )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                            EVS CODEC TECHNOLOGIES, LLC
                         c/o Registered Agent David Sewell, 2323 S. Shepherd, 14th Floor, Houston, TX 77019
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Court Reporting Service Center                                                 Date and Time:
           4296 San Felipe Street, Suite 125                                                                 04/30/2021 4:00 pm
           Houston, TX 77027

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Kevin A. Zeck
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Lenovo Holding Co.
Lenovo (U.S.) Inc.; Motorola Mob. Holdings, LLC; Motorola Mob. LLC       , who issues or requests this subpoena, are:
Kevin Zeck; 1201 Third Avenue, Ste. 4900, Seattle, WA, 98101; KZeck@perkinscoie.com; (206) 359-3002

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 49 of 117 PageID #: 1008
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-00810-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 50 of 117 PageID #: 1009
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          EXHIBIT A


                                         DEFINITIONS
    1. “You” and “Your” shall mean “EVS Codec Technologies, LLC”

    2. “Asserted Patent(s)” shall mean, individually and collectively, U.S. Patent No. 7,693,710;
       U.S. Patent No. 8,401,843; U.S. Patent No. 8,825,475; U.S. Patent No. 8,990,073; and
       U.S. Patent No. 9,852,741.

    3. “Named Inventors” shall mean all inventors named on the face of an Asserted Patent,
       including but not limited to Milan Jelinek; Philippe Gournay; Vaclav Eksler; Redwan
       Salami; Vladimir Malenovsky; and Tommy Vaillancourt.

    4. “EVS Standard” shall mean, for purposes of this discovery only, the technical
       specifications within the Enhanced Voice Service Standard technical specifications of
       3GPP as issued by organizational partners of the 3GPP, including, without limitation, all
       versions and extensions of the foregoing.

    5. “Document(s)” shall be construed under the broadest possible construction under the
       Federal Rules of Civil Procedure, and shall include without limitation any written,
       recorded, graphic, or other matter, whether sent or received or made or used internally,
       however produced or reproduced and whatever the medium on which it was produced or
       reproduced (whether on paper, cards, charts, file, or printouts; tapes, discs, belts,
       videotapes, audiotapes, tape recordings, cassettes, or other types of voice recordings or
       transcriptions; computer tapes, databases, e-mails; pictures, photographs, slides, films,
       microfilms, motion pictures; or any other medium), and any other tangible item or thing
       of readable, recorded, or visual material of whatever nature including without limitation
       originals, drafts, and all non-identical copies of each document (which, by reason of any
       variation, such as the presence of absence of hand-written notes or underlining, represents
       a distinct version).

    6. “License” shall mean

           a. with respect to a patent, any authorization or grant of any right to practice that
              patent with or without limitation, and shall include covenants not to sue,
              sublicenses, time-limited licenses, geographic-limited licenses, field-of-use
              limited licenses, have-made licenses, royalty-bearing licenses, and royalty-free
              licenses.

           b. with respect to a standard, any authorization or grant of any right to practice that
              standard, or any portion of that standard, with or without limitation, and shall
              include covenants not to sue, sublicenses, time-limited licenses, geographic-
              limited licenses, field-of-use limited licenses, have-made licenses, royalty-bearing
              licenses, and royalty-free licenses.
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    7. “Agreement” shall mean any understanding between two or more Persons, whether
       formal or informal, expired or active, written or oral, and/or contingent or non-
       contingent, and regardless of whether the understanding is presently enforceable.

    8. “Person” shall mean any natural person or any business, proprietorship, firm, partnership,
       corporation, association, organization, or other legal entity.

    9. “Affiliate” shall mean, with reference to a specified Person, any entity that directly, or
       indirectly through one or more intermediaries, controls, is controlled by, or is under
       common control with, such Person.

    10. “Fortress Entities” shall mean Fortress Investment Group LLC; Fortress Credit Advisors;
        SoftBank Group Corp.; all Affiliates of any of the foregoing; and all funds or accounts
        managed by any of the foregoing.

    11. “Identified Party” shall mean Voiceage Corporation; Acacia Research Corporation; Saint
        Lawrence Communications, LLC; the University of Sherbrooke a/k/a Université de
        Sherbrooke; and the Named Inventors.

    12. “Relate to,” “Related to,” or “Relating to” shall mean in whole or in part affecting,
        concerning, constituting, containing, embodying, reflecting, involving, describing,
        analyzing, identifying, mentioning, stating, retelling directly or indirectly to, dealing
        with, or in any way pertaining to that subject.



                                         INSTRUCTIONS

    1. Document should be produced in a manner organized and labeled to correspond to the
       categories in the demand below in accordance with Federal Rule of Civil Procedure
       45(e)(1)(A).

    2. If You withhold a Document because You claim the Document requested is privileged,
       then in accordance with Federal Rule of Civil Procedure 45(e)(2) at the time of
       production state the following as to each such document: (a) the date the Document was
       created or communicated; (b) the author(s) or speaker(s); (c) all recipients; (d) the
       employer and position for each author, speaker, or recipient, including whether that
       person is an attorney or patent agent; (e) the general subject matter of the information;
       and (f) the type of privilege or protection claimed.

    3. If You object to providing some, but not all, of the Documents and things requested by
       any Request, state the objection, describe the Documents and things that You are
       unwilling to provide because of its objection, and provide the Documents and things that
       are not subject to the objection.

    4. The singular form of a word should be interpreted in the plural as well. The words “and”
       “or,” and “and/or” shall be construed conjunctively or disjunctively, whichever makes the
       request most inclusive. The word “including” and every variant thereof shall be


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         construed to mean “including, without limitation.” The terms “each” and “every” shall
         mean “each and every.” The terms “any” and “all” shall mean “any and all.”

      5. The following Requests are not intended to be exclusive of each other, and a Document
         responsive to multiple requests need only be produced once.

      6. Documents produced in response to this subpoena may be designated under the common
         protective order entered in VoiceAge EVS LLC v. HMD Global Oy, C.A. No. 19-1945-
         CFC (D. Del.); VoiceAge EVS LLC v. Lenovo Holding Company, Inc. et al., No. 20-810-
         CFC (D. Del.); and VoiceAge EVS LLC v. Apple Inc., C.A. No. 20-1061-CFC (D. Del.)
         provided herewith. Any document produced in response to this subpoena need only be
         produced once and may be used in any or all of the three forgoing cases in accordance
         with the so-ordered stipulation therein (C.A. No. 19-1945 D.I. 25, C.A. No. 20-810 D.I.
         14, C.A. No. 20-1061 D.I. 24).



                              DOCUMENTS TO BE PRODUCED
 1.      All Documents that relate to ownership, enforcement or licensing of an Asserted Patent.

 2.      All Documents that reflect any Agreement relating to ownership, enforcement or
 licensing of an Asserted Patent.

 3.      All Documents that reflect an obligation or entitlement held by You or any Person at any
 time to grant a License to an Asserted Patent or any right under an Asserted Patent, regardless of
 the existence of any conditions precedent for that obligation or entitlement to vest.

 4.     Documents sufficient to identify each Person obligated or entitled at any time to grant a
 License to an Asserted Patent or any right under an Asserted Patent, regardless of the existence
 of any conditions precedent for that obligation or entitlement to vest.

 5.      All Documents that reflect an obligation or entitlement held by You or any Person at any
 time to forgive infringement of an Asserted Patent, regardless of the existence of any conditions
 precedent for that obligation or entitlement to vest.

 6.      Documents sufficient to identify each Person obligated or entitled at any time to forgive
 infringement of an Asserted Patent, regardless of the existence ofany conditions precedent for
 that obligation or entitlement to vest.

 7.     All Documents that reflect an obligation held by You or any Person at any time to refrain
 from granting any right under any Asserted Patent to any Person, regardless of the existence of
 any conditions precedent for that obligation to vest.

 8.     Documents sufficient to identify each Person obligated at any time to refrain from
 granting any right under any Asserted Patent to any Person, regardless of the existence of any
 conditions precedent for that obligation to vest.



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 9.     All Documents that reflect an obligation held by You or any Person at any time to refrain
 from enforcing any Asserted Patent against any Person, regardless of the existence of any
 conditions precedent for that obligation to vest.

 10.    Documents sufficient to identify each Person obligated at any time to refrain from
 enforcing any Asserted Patent against any Person, regardless of the existence of any conditions
 precedent for that obligation to vest.

 11.    A copy of each License to any Asserted Patent in Your possession, custody, or control.

 12.     For each Asserted Patent, Documents sufficient to Identify all Licenses to that Asserted
 Patent of which You are aware.

 13.    For each Asserted Patent, Documents sufficient to Identify all Persons licensed to that
 Asserted Patent of which You are aware.

 14.      A copy of each Document purporting to grant any right under an Asserted Patent, or to
 entitle the grant of any right under any Asserted Patent, regardless of the existence of any
 conditions precedent for such right to vest.

 15.    A copy of each Document reflecting any contractual or de facto right to instruct any
 Person to not sue for infringement of any Asserted Patent, regardless of the existence of any
 conditions precedent for such right to vest.

 16.    A copy of each Document reflecting any contractual or de facto right to instruct any
 Person to grant a License to any Asserted Patent, regardless of the existence of any conditions
 precedent for such right to vest.

 17.    A copy of each License to practice the EVS Standard under any patent.

 18.     A copy of each Document purporting to grant any right to practice the EVS Standard
 under any patent, regardless of whether any conditions precedent have occurred for the grant of
 such right.

 19.     Documents sufficient to Identify all Licenses to practice the EVS Standard under any
 patent, in whole or in part, of which You are aware.

 20.    All Documents relating to any event of default that affects any obligation or entitlement
 by Your or any Person at any time to grant a License to an Asserted Patent or any right under an
 Asserted Patent.

 21.    All Documents requesting or instructing any Person to not sue for infringement of any
 Asserted Patent.

 22.    All Documents requesting or instructing any Person to issue a side letter indicating that
 such Person or any Affiliate thereto will not sue for infringement of any Asserted Patent.




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DelGiudice, Martha (NYC)

From:                              ded_nefreply@ded.uscourts.gov
Sent:                              Friday, March 19, 2021 11:36 AM
To:                                ded_ecf@ded.uscourts.gov
Subject:                           Activity in Case 1:19-cv-01945-CFC VoiceAge EVS LLC v. HMD Global Oy SO ORDERED


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                                   District of Delaware

Notice of Electronic Filing

The following transaction was entered on 3/19/2021 at 11:35 AM EDT and filed on 3/19/2021
Case Name:          VoiceAge EVS LLC v. HMD Global Oy
Case Number:        1:19-cv-01945-CFC
Filer:
Document Number: No document attached

Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)

Case Name:       VoiceAge EVS LLC v. Lenovo Holding Company, Inc. et al
Case Number:     1:20-cv-00810-CFC
Filer:
Document Number: No document attached

Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)

Case Name:       VoiceAge EVS LLC v. Apple Inc.
Case Number:     1:20-cv-01061-CFC
Filer:
Document Number: No document attached
                                                             1
         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 77 of 117 PageID #: 1036
Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)


1:19-cv-01945-CFC Notice has been electronically mailed to:

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         Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 78 of 117 PageID #: 1037


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                                                          3
Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 79 of 117 PageID #: 1038




                           EXHIBIT 3
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 80 of 117 PageID #: 1039
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-01061-CFC
                           APPLE INC.                                         )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                           ACACIA RESEARCH CORPORATION
                       c/o Registered Agent Solutions, Inc. 9 E. Loockerman Street, Suite 311, Dover, DE 19901
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Morris, Nichols, Arsht & Tunnell LLP                                           Date and Time:
           1201 North Market Street, 16th Floor                                                              04/30/2021 4:00 pm
           Wilmington, DE 19899-1347

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Mark Selwyn
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Apple Inc.                                                               , who issues or requests this subpoena, are:
Mark Selwyn; 2600 El Camino Real, Suite 400, Palo Alto, CA 94306; mark.selywn@wilmerhale.com; 650.858.6031

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 81 of 117 PageID #: 1040
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-01061-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 82 of 117 PageID #: 1041
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 83 of 117 PageID #: 1042
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:19-cv-01945-CFC
                       HMD GLOBAL OY                                          )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                           ACACIA RESEARCH CORPORATION
                       c/o Registered Agent Solutions, Inc. 9 E. Loockerman Street, Suite 311, Dover, DE 19901
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Morris, Nichols, Arsht & Tunnell LLP                                           Date and Time:
           1201 North Market Street, 16th Floor                                                              04/30/2021 4:00 pm
           Wilmington, DE 19899-1347

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                       /s/ Matt Moffa
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
HMD Global Oy                                                           , who issues or requests this subpoena, are:
Matthew Moffa, 1155 Ave. of the Americas, 22nd Floor, NY, NY 10036; MMoffa@perkinscoie.com; (212) 262-6900

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 84 of 117 PageID #: 1043
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:19-cv-01945-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 85 of 117 PageID #: 1044
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 86 of 117 PageID #: 1045
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                     VOICEAGE EVS LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-00810-CFC
               LENOVO GROUP LTD., et al.                                      )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                           ACACIA RESEARCH CORPORATION
                       c/o Registered Agent Solutions, Inc. 9 E. Loockerman Street, Suite 311, Dover, DE 19901
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A



  Place: Morris, Nichols, Arsht & Tunnell LLP                                           Date and Time:
           1201 North Market Street, 16th Floor                                                              04/30/2021 4:00 pm
           Wilmington, DE 19899-1347

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/16/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Kevin A. Zeck
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Lenovo Holding Co.
Lenovo (U.S.) Inc.; Motorola Mob. Holdings, LLC; Motorola Mob. LLC       , who issues or requests this subpoena, are:
Kevin Zeck; 1201 Third Avenue, Ste. 4900, Seattle, WA, 98101; KZeck@perkinscoie.com; (206) 359-3002

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 87 of 117 PageID #: 1046
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-00810-CFC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 88 of 117 PageID #: 1047
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          EXHIBIT A


                                         DEFINITIONS
    1. “You” and “Your” shall mean “Acacia Research Corporation”

    2. “Asserted Patent(s)” shall mean, individually and collectively, U.S. Patent No. 7,693,710;
       U.S. Patent No. 8,401,843; U.S. Patent No. 8,825,475; U.S. Patent No. 8,990,073; and
       U.S. Patent No. 9,852,741.

    3. “Named Inventors” shall mean all inventors named on the face of an Asserted Patent,
       including but not limited to Milan Jelinek; Philippe Gournay; Vaclav Eksler; Redwan
       Salami; Vladimir Malenovsky; and Tommy Vaillancourt.

    4. “EVS Standard” shall mean, for purposes of this discovery only, the technical
       specifications within the Enhanced Voice Service Standard technical specifications of
       3GPP as issued by organizational partners of the 3GPP, including, without limitation, all
       versions and extensions of the foregoing.

    5. “Document(s)” shall be construed under the broadest possible construction under the
       Federal Rules of Civil Procedure, and shall include without limitation any written,
       recorded, graphic, or other matter, whether sent or received or made or used internally,
       however produced or reproduced and whatever the medium on which it was produced or
       reproduced (whether on paper, cards, charts, file, or printouts; tapes, discs, belts,
       videotapes, audiotapes, tape recordings, cassettes, or other types of voice recordings or
       transcriptions; computer tapes, databases, e-mails; pictures, photographs, slides, films,
       microfilms, motion pictures; or any other medium), and any other tangible item or thing
       of readable, recorded, or visual material of whatever nature including without limitation
       originals, drafts, and all non-identical copies of each document (which, by reason of any
       variation, such as the presence of absence of hand-written notes or underlining, represents
       a distinct version).

    6. “License” shall mean

           a. with respect to a patent, any authorization or grant of any right to practice that
              patent with or without limitation, and shall include covenants not to sue,
              sublicenses, time-limited licenses, geographic-limited licenses, field-of-use
              limited licenses, have-made licenses, royalty-bearing licenses, and royalty-free
              licenses.

           b. with respect to a standard, any authorization or grant of any right to practice that
              standard, or any portion of that standard, with or without limitation, and shall
              include covenants not to sue, sublicenses, time-limited licenses, geographic-
              limited licenses, field-of-use limited licenses, have-made licenses, royalty-bearing
              licenses, and royalty-free licenses.
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    7. “Agreement” shall mean any understanding between two or more Persons, whether
       formal or informal, expired or active, written or oral, and/or contingent or non-
       contingent, and regardless of whether the understanding is presently enforceable.

    8. “Person” shall mean any natural person or any business, proprietorship, firm, partnership,
       corporation, association, organization, or other legal entity.

    9. “Affiliate” shall mean, with reference to a specified Person, any entity that directly, or
       indirectly through one or more intermediaries, controls, is controlled by, or is under
       common control with, such Person.

    10. “Fortress Entities” shall mean Fortress Investment Group LLC; Fortress Credit Advisors;
        SoftBank Group Corp.; all Affiliates of any of the foregoing; and all funds or accounts
        managed by any of the foregoing.

    11. “Identified Party” shall mean Voiceage Corporation; EVS Codec Technologies, LLC;
        Saint Lawrence Communications, LLC; the University of Sherbrooke a/k/a Université de
        Sherbrooke; and the Named Inventors.

    12. “Relate to,” “Related to,” or “Relating to” shall mean in whole or in part affecting,
        concerning, constituting, containing, embodying, reflecting, involving, describing,
        analyzing, identifying, mentioning, stating, retelling directly or indirectly to, dealing
        with, or in any way pertaining to that subject.



                                         INSTRUCTIONS

    1. Document should be produced in a manner organized and labeled to correspond to the
       categories in the demand below in accordance with Federal Rule of Civil Procedure
       45(e)(1)(A).

    2. If You withhold a Document because You claim the Document requested is privileged,
       then in accordance with Federal Rule of Civil Procedure 45(e)(2) at the time of
       production state the following as to each such document: (a) the date the Document was
       created or communicated; (b) the author(s) or speaker(s); (c) all recipients; (d) the
       employer and position for each author, speaker, or recipient, including whether that
       person is an attorney or patent agent; (e) the general subject matter of the information;
       and (f) the type of privilege or protection claimed.

    3. If You object to providing some, but not all, of the Documents and things requested by
       any Request, state the objection, describe the Documents and things that You are
       unwilling to provide because of its objection, and provide the Documents and things that
       are not subject to the objection.

    4. The singular form of a word should be interpreted in the plural as well. The words “and”
       “or,” and “and/or” shall be construed conjunctively or disjunctively, whichever makes the
       request most inclusive. The word “including” and every variant thereof shall be


                                                 -2-
Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 91 of 117 PageID #: 1050




         construed to mean “including, without limitation.” The terms “each” and “every” shall
         mean “each and every.” The terms “any” and “all” shall mean “any and all.”

      5. The following Requests are not intended to be exclusive of each other, and a Document
         responsive to multiple requests need only be produced once.

      6. Documents produced in response to this subpoena may be designated under the common
         protective order entered in VoiceAge EVS LLC v. HMD Global Oy, C.A. No. 19-1945-
         CFC (D. Del.); VoiceAge EVS LLC v. Lenovo Holding Company, Inc. et al., No. 20-810-
         CFC (D. Del.); and VoiceAge EVS LLC v. Apple Inc., C.A. No. 20-1061-CFC (D. Del.)
         provided herewith. Any document produced in response to this subpoena need only be
         produced once and may be used in any or all of the three forgoing cases in accordance
         with the so-ordered stipulation therein (C.A. No. 19-1945 D.I. 25, C.A. No. 20-810 D.I.
         14, C.A. No. 20-1061 D.I. 24).



                              DOCUMENTS TO BE PRODUCED
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DelGiudice, Martha (NYC)

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Notice of Electronic Filing

The following transaction was entered on 3/19/2021 at 11:35 AM EDT and filed on 3/19/2021
Case Name:          VoiceAge EVS LLC v. HMD Global Oy
Case Number:        1:19-cv-01945-CFC
Filer:
Document Number: No document attached

Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)

Case Name:       VoiceAge EVS LLC v. Lenovo Holding Company, Inc. et al
Case Number:     1:20-cv-00810-CFC
Filer:
Document Number: No document attached

Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
CFC, 1:20-cv-00810-CFC, 1:20-cv-01061-CFC(fms)

Case Name:       VoiceAge EVS LLC v. Apple Inc.
Case Number:     1:20-cv-01061-CFC
Filer:
Document Number: No document attached
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     Case 1:19-cv-01945-CFC Document 30 Filed 04/16/21 Page 115 of 117 PageID #: 1074
Docket Text:
SO ORDERED, re (15 in 1:20-cv-00810-CFC, 26 in 1:19-cv-01945-CFC, 25 in 1:20-cv-01061-CFC)
Proposed Limited Protective Order For Jurisdictional-Related Discovery filed by VoiceAge
EVS LLC. Ordered by Judge Colm F. Connolly on 3/19/2021. Associated Cases: 1:19-cv-01945-
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                I further certify that I caused copies of the foregoing document to be served on

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